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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                   )
                                                          ) Chapter 7
 BRIO SYSTEMS, INC.,                                      )
                                                          ) Case No. 23-10670 (JKS)
                    Debtor.                               )
                                                          )
                                                          )
 ALFRED T. GIULIANO, solely in his capacity               )
 as Chapter 7 Trustee of BRIO SYSTEMS, INC.,              )
                                                          )
                    Plaintiff,                            )
                                                          ) Adv. Pro. No. 25-50952 (JKS)
               v.
                                                          )
 AMAZON WEB SERVICES,                                     )
                                                          )
                    Defendant.                            )
                                                          )
                                                          )
                                                          )


               STIPULATION EXTENDING TIME TO ANSWER COMPLAINT

          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff, ALFRED T.

GIULIANO, in his capacity as chapter 7 trustee of the estate of BRIO SYSTEMS, INC., and

Defendant, AMAZON WEB SERVICES, INC., acting through their undersigned counsel that:

          1.        Defendant was served with a copy of the Summons and Complaint in the above-

captioned adversary proceeding.

          2.        The time that Defendant may answer, move, or otherwise respond to the Complaint

herein is extended through and including July 20, 2025, without prejudice to any further requests

for extension.


                                         [signature page follows]




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Dated: June 20, 2025                                Dated: June 25, 2025

K&L GATES LLP                                       ARCHER & GREINER, P.C.
/s/ Matthew B. Goeller                     .        /s/ Natasha M. Songonuga                    .
Matthew B. Goeller (#6283)                          Natasha M. Songonuga (Bar No. 5391)
600 N. King St., Suite 901                          Douglas G. Leney1
Wilmington, DE 19801                                300 Delaware Avenue, Suite 1100
Tel: (302) 416-7080                                 Wilmington, DE 19801
Email: matthew.goeller@klgates.com                  (302) 777-4350
                                                    Email: nsongonuga@archerlaw.com
                                                    Email: dleney@archerlaw.com


Attorneys for Defendant, Amazon Web Services,       Attorneys for Plaintiff, Alfred T. Giuliano, solely
Inc.                                                in his capacity as the Chapter 7 Trustee




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    Pro hac vice admission pending.


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